        Case 2:20-cv-10794-GJS Document 7 Filed 04/28/21 Page 1 of 1 Page ID #:66

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
Case No.        2:20-cv-10794-GJS                                                    Date   April 28, 2021
Title           United African Asian Abilities Club et al v. Alta Vista Holdings, LLC et al



Present: The Honorable        GAIL J. STANDISH, U.S. MAGISTRATE JUDGE
                      E. Carson                                                       N/A
                    Deputy Clerk                                      Court Reporter / Recorder

          Attorneys Present for Plaintiff(s):                    Attorneys Present for Defendant(s):
                      None present                                                  None present


Proceedings:               (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                           LACK OF PROSECUTION (“OSC”)

Plaintiff(s) is ordered to show cause in writing no later than Wednesday, May 5, 2021, why this action
should not be dismissed for lack of prosecution.

The Court will consider the filing of the following, as an appropriate response to this OSC, on or before
the above date:

         ● Answer by the defendant(s) or plaintiff's request for entry of default.

         ● Notice of Settlement/Notice of Voluntary Dismissal

         ● Plaintiff's filing of a noticed motion for entry of default judgment.


No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to respond to the Court's
Order may result in the dismissal of the action.

IT IS SO ORDERED.



                                                                                                   :

                                                             Initials of Preparer           efc

CV-90 (10/08)                               CIVIL MINUTES - GENERAL                                          Page 1 of 1
